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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA                               FILED
                                            Norfolk Division


 ALEXANDER HATZEY,                                                                    OGT 3 0 2018
 Individually and on behalf of all others
 similarly situated
                                                                                 CLWnis"DisracT^
                                                                                    NORrOLK^W._„     J



                Plaintiff,
 V.                                                            Civil Action No.: 2:18cvl91



 DIVURGENT, LLC.,

                Defendant.


                                     OPINION AND ORDER


        This matter comes before the Court on Plaintiffs Unopposed Motion for Settlement

 Approval under the Fair Labor Standards Act ("FLSA"), 29 U.S.C. § 201. Doc. 32. Pursuant to

 the provisions of 28 U.S.C. §§ 636(b)(1)(B) and (C), Rule 72(b) of the Federal Rules of Civil

 Procedure, Rule 72 of the Rules of the United States District Court for the Eastern District of

 Virginia, and by order of reference dated July 13, 2018, this matter was referred to a United

 States Magistrate Judge for a Report and Recommendation. Doc. 28.

        The Report and Recommendation of the Magistrate Judge ("R&R"), filed on October 9,

 2018, finds that the proposed settlement "is fair and reasonable and in accordance with the

 purposes of the FLSA." Doc. 42 at 12. Accordingly, the Magistrate Judge recommends that

 Plaintiffs Unopposed Motion for Approval of Settlement Approval, Doc. 32, be GRANTED.

        By copy of the R&R, each party was advised of the right to file written objections to the

 findings and recommendations made by the Magistrate Judge within fourteen (14) days from the

 date the R&R was sent, ^       28 U.S.C. §636(b) and Federal Rule of Civil procedure 72(b),

computed pursuant to Federal Rule of Civil Procedure 6(a). Doc. 42 at 13. The parties were also
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given an additional three (3) days, pursuant to Rule 6(d) of the Federal Rules of Civil Procedure.

The time for filing written objections has now passed, and neither party has filed objections. As

indicated in the R&R, failure to file timely objections to the findings and recommendations set

forth in the R&R "will result in waiver of right to appeal from a judgment of this Court based on

such findings and recommendations." Id

          This Court has reviewed the R&R of the Magistrate Judge and hereby adopts and

approves in full the findings and recommendations set forth therein. Accordingly, it is hereby

ORDERED that Plaintiffs Unopposed Motion for Settlement Approval, Doc. 32, is

GRANTED.


          The parties are advised that they may appeal from this Opinion and Final Order by

forwarding a written notice of appeal to the Clerk of the United States District Court, United

States Courthouse, 600 Granby Street, Norfolk, Virginia 23510. Said written notice must be

received by the Clerk within sixty (60) days from the date of this Order.

          The Clerk is REQUESTED to send a copy of this Opinion and Order to all counsel of

record.


          It is so ORDERED.


                                                                       /«/

                                                  Henry Coke Morgan, Jr.
                                                  Senior United States District Judge

                                                     HENRY COKE MORGAN, JR.
                                             SENIOR UNITED STATES DISTRICT JUDGE


Norfolk, Virginia
October 30 ,2018
